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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


Civil Action No. _____ -cv- ___________- _____

_______________________________________,

       Plaintiff(s),

v.

_______________________________________,

       Defendant(s).


             CONSENT/NON-CONSENT TO THE EXERCISE OF JURISDICTION
                     BY A UNITED STATES MAGISTRATE JUDGE
________________________________________________________________________________

        Under 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, D.C.COLO.LCivR 72.2, and D.C.COLO.LAPR 72.2
– Consent Jurisdiction of a Magistrate Judge, you are notified that a United States magistrate judge of
this district court is available to handle all dispositive matters in this civil action, including a jury or
nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate
judge, however, is permitted only if all parties voluntarily consent and the district judge orders the
reference to a magistrate judge under 28 U.S.C. § 636(c). An appeal from a judgment entered by a
magistrate judge shall be taken directly to the appropriate United States Court of Appeals in the same
manner as an appeal from any other judgment of a district court.

       Consent to magistrate judge jurisdiction is voluntary, and no adverse consequence shall result if
consent is declined. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has
been assigned. Pursuant to D.C.COLO.LCivR 72.2, no district judge or magistrate judge, court official,
or court employee may attempt to influence the granting or withholding of consent to the reference of
any civil matter to a magistrate judge under this rule.

      If this civil action has been referred to a magistrate judge to handle certain nondispositive
matters, that reference shall remain in effect. Upon entry of an order of reference pursuant to 28 U.S.C.
§ 636(c), the civil action will be assigned to the magistrate judge then assigned to the case.

        You are directed to confer with all parties in this action and execute and file with the Court the
attached Election Concerning Consent/Non-Consent to United States Magistrate Judge Jurisdiction,
indicating either the unanimous consent of the parties or that at least one party has declined to consent,
at the earlier of (1) no later than seven days before the scheduling conference, if any; or (2) 45 days
after the filing of the first response, other than an answer, to the operative complaint. All parties must
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either consent to the exercise of magistrate judge jurisdiction, or any party may decline to consent. In
either event, filing of the Election Concerning Consent/Non-Consent to United States Magistrate
Judge Jurisdiction is mandatory, indicating either the unanimous consent of the parties or that at
least one party has declined to consent.

        Any party added to the civil action after reference to a magistrate judge shall be notified by the
clerk of the obligation to complete and file the mandatory Election Concerning Consent/Non-Consent to
United States Magistrate Judge Jurisdiction. If any added party does not consent to magistrate judge
jurisdiction within 21 days from the date of the notice, the civil action shall be assigned to a district
judge, and the magistrate judge shall continue on the case as if consent had been declined initially.
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. _____ -cv- __________- _____

                                                    ,

         Plaintiff(s),

  v.

                                                    ,

         Defendant(s).


             ELECTION CONCERNING CONSENT/NON-CONSENT TO
              UNITED STATES MAGISTRATE JUDGE JURISDICTION
  ______________________________________________________________________

         Under 28 U.S.C. § 636(c) and

         (1)     D.C.COLO.LCivR 40.1(c) (Assignment of Cases/Direct Assignment to
                 Magistrate Judges);

         or

         (2)     Fed. R. Civ. P. 73 and D.C.COLO.LCivR 72.2 (Consent Jurisdiction of a
                 Magistrate Judge);

         or

         (3)     D.C.COLO.LAPR 72.2 (Consent Jurisdiction of a Magistrate Judge).

                                         CHECK ONE

                    all parties in this civil action CONSENT to have a United States
  magistrate judge conduct all proceedings in this civil action, including trial, and to order
  the entry of a final judgment;

                                               OR

                  at least one party in this civil action DOES NOT CONSENT to have a
  United States magistrate judge conduct all proceedings in this civil action, including trial,
  and to order the entry of a final judgment.
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        Signatures                        Party Represented                   Date

  _________________________        _________________________           ________________

  Print name_____________________________________________________________

  _________________________        _________________________           ________________

  Print name_____________________________________________________________

  _________________________        _________________________           ________________


  NOTE:       You are directed to confer with all parties in this action and execute and file
              with the Court this Election Concerning Consent/Non-Consent to United
              States Magistrate Judge Jurisdiction, indicating either the unanimous
              consent of the parties or that at least one party has declined to consent, at
              the earlier of (1) no later than seven days before the scheduling conference,
              if any; or (2) 45 days after the filing of the first response, other than an
              answer, to the operative complaint. All parties must either consent to the
              exercise of magistrate judge jurisdiction, or any party may decline to
              consent. In either event, filing of the Election Concerning
              Consent/Non-Consent to United States Magistrate Judge Jurisdiction
              is mandatory, indicating either the unanimous consent of the parties or that
              at least one party has declined to consent.
